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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

NATHSON E. FIELDS,                                    )
                                                      )
                Plaintiff,                            )
                                                      )
        v.                                            )   Case No. 10 C 1168
                                                      )
CITY OF CHICAGO, et al.,                              )   Judge Matthew F. Kennelly
                                                      )
                Defendants.                           )

                          PROTECTIVE ORDER RELATING TO
                 SECOND ATTORNEY REVIEW OF FILES AT AREA CENTRAL

         On April 19, 2013, plaintiff’s attorneys Candace Gorman, Melissa Matusak, and Adrian Bleifuss
Prados, and law clerk Maura Ross, shall be permitted to review contents of the Area 1 file cabinet in the
basement of Area Central located at 51st and Wentworth in Chicago for the purpose of completing their
review authorized by this Court’s Protective Order of February 28, 2013. In addition, plaintiff’s
attorneys shall be entitled to briefly review the contents of a file cabinet labeled “Open Homicides” from
Area Central that has drawers dating from 1984 through 1988 solely for the purpose of confirming that it
has old Area 4 files and not Area 1 files. The information contained in the file cabinets to be reviewed
by plaintiff’s attorneys on April 19, 2013 shall be kept, maintained, and considered for attorneys’ eyes
and ears only, with the exception that plaintiff’s counsel can discuss with plaintiff the types of documents
or other materials in those files. The file review will be conducted in the presence of representatives of
the City’s attorneys Dykema Gossett as well as Chicago Police Department personnel. Nothing in this
Protective Order should be read to abrogate or rescind any portion of the Protective Order entered on
February 28, 2013, which remains in full force and effect, and will apply to the second review of the files
on April 19, 2013.


                                                 JUDGE MATTHEW F. KENNELLY
                                                 DISTRICT JUDGE
                                                 UNITED STATES DISTRICT COURT

DATE: April 16, 2013
